         Case 3:12-cv-00104-BRW Document 67 Filed 04/10/13 Page 1 of 4



                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                JONESBORO DIVISION


TED AND MARTHA CHANDLER                                                               PLAINTIFF

VS.                                   3:12-CV-00104-BRW

JACOBS ENGINEERING GROUP, INC., et al.                                             DEFENDANTS


                                             ORDER


       This Matter, having come before the Court on the agreement of the parties; it further

appearing that documents produced - or which may be later produced - confidential research,

development, competitive or commercial information as such terms may be defined and used

under the laws of the State of Arkansas; and it further appearing that judicial economy will be

served by entering of this Order,

       IT IS HEREBY ORDERED THAT:

       1.      This Order shall govern documents and other material or information (“Litigation

Materials”) produced, formally or informally, in the course of litigation, including but not limited

to documents, data, things, information, deposition testimony and answers to discovery.

       2.      As used in this Order, “Confidential Material” shall refer to any document or

other Litigation Materials, or any portion thereof, designated as confidential, as well as

information contained in or derived from such documents or other Litigation Materials.

       3.      Any party may designate (the “Designating Party”) any Litigation Materials as

confidential. Such designation shall be made in good faith and constitute a representation by the

Designating Party that it has a reasonable basis to believe that the material so designated is




                                                 1
            Case 3:12-cv-00104-BRW Document 67 Filed 04/10/13 Page 2 of 4



appropriate for the protection provided in this Order and that it is entitled to claim such

protection for the material.

       4.       Confidential Material and any copy thereof and any notes or summaries made

therefrom shall not be used by any party receiving it, including such party’s attorney or other

representatives including expert witnesses, for any purpose other than the litigation of this action.

       5.       All Confidential Material received by an attorney shall be controlled and properly

secured by that attorney to prevent unauthorized access to, or reproduction of, the Confidential

Material.

       6.       Confidential material and any copies thereof, and notes or excerpts made

therefrom, shall be disclosed only to “Qualified Persons,” and only to the extent necessary for the

litigation of this action. Qualified Persons are limited to:

       a.       Counsel of record for the parties and the parties themselves;

       b.       The non-technical and clerical staff employed by Counsel of record;

       c.       The independent personnel retained by Counsel of record to furnish technical or

                other expert services or advice or to give expert testimony;

       d.       Court reporters and deposition transcript reporters; and

       e.       The Court and its authorized staff.

       7.       In addition, the attorney disclosing the Confidential Material shall take all

necessary steps to ensure that all persons receiving Confidential Material (a) maintain such

material in a protected and secure manner, with access restricted at all times to Qualified Persons

and (b) abide by the terms of this Protective Order.

       8.       Except as expressly provided in Paragraph 6 above, should any party desire to

disclose Confidential Material to anyone in addition to Qualified Persons, such party shall


                                                  2
         Case 3:12-cv-00104-BRW Document 67 Filed 04/10/13 Page 3 of 4



provide the Designating Party fourteen (14) days prior written notice of the intent to disclose

Confidential Material to such additional person(s), which notice shall state the name and address

of the additional person(s) and the reason(s) review by such additional person(s) is desired. If the

Designating Party objects in writing to such disclosure within that fourteen (14) day period, then

such Confidential Material will not be disclosed unless and until this Court overrules the

Designating Party’s objection.

       9.      If a party disagrees with a claim of confidentiality, such party shall notify the

Designating Party in writing. If the dispute cannot be resolved by agreement, such Confidential

material shall be kept confidential unless, within thirty (30) days of receipt by the Designating

Party of such notice, or such other time period as the parties may agree upon, the party objecting

to the designation applies to this Court for an Order specifically excepting the challenged

information from confidential treatment. If such a motion is filed, the information shall be kept

confidential pending a ruling by this Court and the conclusion of any and all proceedings and

appeals challenging such ruling. If such motion is not filed within the applicable time period,

such information shall be kept confidential and the party objecting to the designation shall be

deemed to have waived its objection.

       10.     This Protective Order shall survive the termination of this action. All

Confidential Material shall retain that designation and shall remain subject to this Protective

Order until such time, if ever, as the Court renders a decision that any challenged material shall

not be covered by the terms of this Protective Order and any and all proceedings and appeals

challenging such decision shall have been concluded.

       11.     Upon final termination of this action, all Confidential Material, including each

copy thereof, and each document and copy thereof that incorporates or references, in whole or in


                                                 3
         Case 3:12-cv-00104-BRW Document 67 Filed 04/10/13 Page 4 of 4



part, any Confidential Material or information contained therein, including but not limited to

notes or summaries concerning or pertaining to such Confidential Material, shall at the option of

the recipient of the Confidential Materials be either destroyed or returned to the Designating

Party not later than fourteen (14) days after the ultimate disposition of this case. The recipient

party shall then provide an affidavit affirming that at all times the party has abided by the terms

of this Protective Order, that all Confidential Material in the affiant’s custody or control, and all

Confidential Material that affiant disclosed to Qualified Persons or to others, has been retrieved

and returned to the Designating Party, or has been destroyed.

       IT IS SO ORDERED, this 10th day of April, 2013.



                                                   /s/Billy Roy Wilson
                                            UNITED STATES DISTRICT JUDGE




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